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1                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
2                                 PENSACOLA DIVISION
3                          Civil Action No.      3:21-cv-01066
4
             STATE OF FLORIDA,
5
                                Plaintiff,
6
             v.
7
             The UNITED STATES OF AMERICA, et
8            al.,
9                               Defendants.
             ________________________________/
10
11
                            WEB CONFERENCE DEPOSITION OF
12
                                    LAVITTA STANFORD
13
                          Taken on Behalf of the Defendants
14
15                              Thursday, July 7, 2022
                                10:02 a.m. - 1:40 p.m.
16
17                          LOCATION:     Via Web Conference
18
19
20
21
22                Stenographically Reported Via Web Conference By:
                                        Mary Hlavac
23                        Registered Professional Reporter
                               Registered Merit Reporter
24                           Certified Realtime Reporter
25                           Job No. CS5298281

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1         complaint we deal with a subgroup of noncitizens who

2         are called applicants for admission.                 Do you -- are

3         you familiar with that term?

4               A.     No.

5               Q.     Okay.     So when I use the term "applicant for

6         admission," I am referring to somebody who comes to

7         the United States without a previously existing lawful

8         status.    So if you, for instance, come to the United

9         States with an immigrant visa and then you can be

10        admitted and you'll get a green card and become a

11        lawful permanent resident, an applicant for admission

12        doesn't have a visa or green card set up or anything

13        like that.     They just come to the United States and

14        request a visa or, you know, other types of things

15        like asylum or withholding of removal.                 Does that make

16        sense?

17              A.     Uh-huh.     Yes.

18              Q.     Does the Department of Corrections know of

19        the percentage of that 3 to 4 percent of its overall

20        budget that goes to incarcerating noncitizens, what

21        percentage of that money for noncitizens then is spent

22        on incarcerating specifically applicants for

23        admission?

24              A.     I don't have that information.              I wouldn't

25        think that would be something that the department

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1         would have.

2               Q.    Sorry.     You don't think that would be

3         something the department would have?

4               A.    I would say I don't -- I would say no.           I

5         don't know of why -- why they would or

6         who would -- what area would even keep up with that.

7         I cannot speak on that.         Because -- in our area, my

8         area, once -- you know, once you're in, you're in.

9         And that's basically how we calculate the -- you know,

10        any type of per diem as far as the operations of a

11        facility.     It's nothing down to that level.

12              Q.    So you don't have the money spent on

13        noncitizens broken down to any more granular level

14        than just that they're noncitizen inmates?

15              A.    Right.

16              Q.    So among the noncitizens and then among the

17        subcategory of applicants for admission, there are

18        some of those who were paroled or released by the

19        federal government.        Do you -- are you familiar with

20        the concept of parole?

21              A.    Yes.

22              Q.    Okay.     All right.     Well, in the criminal

23        sense, but in the immigration sense?

24              A.    No.

25              Q.    Okay.     So in the immigration sense, it's

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1         somebody gets paroled when they are, you know, being

2         placed in immigration proceedings and the government,

3         instead of detaining them during, you know, the course

4         of obtaining asylum or visa, they release them to go

5         live elsewhere in the United States on certain

6         conditions.       Does that make sense?

7               A.    Yeah, that makes sense.

8               Q.    Does the Department of Corrections know what

9         percentage of its budget is spent on incarcerating

10        noncitizens who have been released by immigration

11        authorities on parole or another type of release while

12        they're in immigration proceedings?

13              A.    No.     Because it's not based on that.        Our

14        budget is not based on citizens or noncitizens.

15              Q.    Okay.

16              A.    It's based on an inmate, you know.          Just

17        you're in, you're in.

18              Q.    Does the Department of Corrections -- I'm

19        sorry.

20              A.    I'm sorry.      The only type of funding that we

21        receive to help deter some of that cost is through the

22        State Criminal Alien Association Program, and that

23        is -- it's a federal grant.          And that reimbursement is

24        based on the number of aliens that were incarcerated

25        during that time.       And I believe -- there's some

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1         criteria to that, that they have to apply as far as

2         whether it's a felony, two misdemeanors or -- and have

3         to be with the department at least four consecutive

4         days.        I believe that's what the program's called, if

5         I recall correctly.         And so they go through the

6         application process with that.            And it's determined,

7         it's changed once it go through the vetting with the

8         Department of Justice and the Bureau of Justice

9         Administration.         BJA is a federal acronym for -- that

10        oversees that program.          And then our reimbursement is

11        based on the information that's sent there.

12                        Like this past year, we got $8.2 million

13        and -- to help deter that cost.            And that money we

14        reimburse back to general revenue.             So the department

15        doesn't keep it because we are appropriated funding

16        enough to operate.         So that money when we -- we're

17        just a pass through.         We receive it and then we

18        transfer it to general revenue.

19                Q.      Okay.   I think you had mentioned that --

20        that they apply for the criminal alien funding.             Who

21        is "they"?        Who applies for that?

22                A.      The department -- that is in a different

23        section.        It is the research and data department who

24        actually submits -- does the grant submittal.

25                Q.      Okay.   Going back to noncitizens who could

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